Case 6:14-cr-00203-DDD-PJH           Document 353         Filed 10/13/15      Page 1 of 2 PageID #:
                                            922



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

  UNITED STATES OF AMERICA                         *     CRIMINAL NO. 6:14-CR-00203-09


  VERSUS                                           *     JUDGE HAIK


  TYRONE HOWARD (09)                               *     MAGISTRATE JUDGE HANNA


                       REPORT AND RECOMMENDATION ON
                             FELONY GUILTY PLEA
                  BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to Title 28, U.S.C. § 636(b), and with the written and oral consent of the

 defendant, this matter has been referred by the District Court for administration of guilty plea,

 and allocution under Rule 11 of the Federal Rules of Criminal Procedure.

        This cause came before the undersigned United States Magistrate Judge for a change of

 plea hearing and allocution of the defendant, TYRONE HOWARD, on October 1, 2015. The

 defendant was present with his counsel Alfred F. Boustany II.

        After the hearing, and for the reasons orally assigned, it is the finding of the undersigned

 that the defendant is fully competent, that his plea of guilty is knowing and voluntary, and his

 guilty plea to Count 1 of the indictment is fully supported by a written factual basis for each of

 the essential elements of the offense.

        Therefore, the undersigned United States Magistrate Judge recommends that the District

 Court ACCEPT the guilty plea of the defendant, Tyrone Howard, in accordance with the terms

 of the plea agreement filed in the record of these proceedings, and that Tyrone Howard be finally

 adjudged guilty of the offense charged in Count 1 of the indictment.
Case 6:14-cr-00203-DDD-PJH           Document 353         Filed 10/13/15     Page 2 of 2 PageID #:
                                            923



         Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Fed. R. Cr. P. 59(b)(2), the parties

 have fourteen (14) days from service of this Report and Recommendation to file specific,

 written objections with the Clerk of Court. A party may respond to another party’s objections

 within fourteen (14) days after being served with a copy thereof. A courtesy copy of any

 objection or response or request for extension of time shall be furnished to the District Judge at

 the time of filing. Timely objections will be considered by the District Judge before she makes a

 final ruling.

         A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN FOURTEEN (14) DAYS FROM THE DATE OF ITS SERVICE

 SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

 FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

 FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

         THUS DONE AND SIGNED in chambers, at Lafayette, Louisiana, this 13th day of

 October, 2015.


                                               _______________________________________
                                               PATRICK J. HANNA
                                               UNITED STATES MAGISTRATE JUDGE




                                                 -2-
